Case 5:23-cv-05510-NW   Document 79-2   Filed 03/31/25   Page 1 of 10




                 EXHIBIT B
     Case 5:23-cv-05510-NW              Document 79-2        Filed 03/31/25   Page 2 of 10




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 2   TERRA LAW LLP
     333 W. Santa Clara St., Suite 910
 3   San Jose, California 95113
     Telephone: (408) 299-1200
 4
     Attorneys for Plaintiff
 5   Jing Xu
 6

 7                                    UNITED STATES DISTRICT COURT
 8                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                           SAN JOSE DIVISION
10

11   JING XU,                                              Case No. 5:23-CV-05510-PCP
12                             Plaintiff,                  PLAINTIFF JING XU’S RESPONSE TO
                                                           BETTER MORTGAGE
13          vs.                                            CORPORATION’S FIRST SET OF
                                                           INTERROGATORIES
14   BETTER MORTGAGE CORPORATION, a
     California corporation, and THE MONEY
15   SOURCE, INC., a New York corporation,
16                             Defendants.
17

18

19   PROPOUNDING PARTY:                Defendant BETTER MORTGAGE CORPORATION

20   RESPONDING PARTY:                 Plaintiff JING XU

21   SET NO:                           ONE (1)

22          Plaintiff Jing Xu (“Responding Party” or “Plaintiff”) provides the following responses,

23   pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, to the First Set of

24   Interrogatories, propounded by defendant Better Mortgage Corporation (“BMC”), as follows:

25            PRELIMINARY STATEMENTS APPLICABLE TO EVERY RESPONSE

26          The investigation and preparation of Responding Party for trial has not been completed

27   and the following responses are given without prejudice to Responding Party’s right to amend

28   these responses based on subsequently discovered information. Each of the following responses
                                                      1
                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2         Filed 03/31/25       Page 3 of 10




 1   is rendered and based upon information and documentation in the possession of Responding

 2   Party at the time of preparing Responding Party’s response. Discovery will continue as long as

 3   permitted by statute or stipulation of the parties, and the investigation of Responding Party’s

 4   attorneys and agents will continue to and throughout the pendency of the action.

 5          If any responsive information has unintentionally been omitted from these responses,

 6   Responding Party reserves the right to amend these responses and/or to apply for relief so as to

 7   permit the insertion of the information omitted from these responses.

 8          Responding Party further reserves all objections to the competency, relevance,

 9   materiality, privilege, or admissibility of this response or documents produced in this or any

10   subsequent proceedings or in the trial of this or any other action.

11          Responding Party objects to each and every category contained within the Request for

12   Production to the extent that it may be construed as seeking information protected by the

13   attorney-client, work product and/or tax return privileges.

14          These preliminary statements shall apply to each and every response given herein, and

15   shall be incorporated by reference as though fully set forth in each and every following response.

16                              RESPONSES TO INTERROGATORIES

17   INTERROGATORY NO. 1.:

18          State all facts supporting the allegation in Paragraph 16 of the Complaint that Better

19   “published a derogatory report to the appellate credit reporting agencies.”

20   RESPONSE TO INTERROGATORY NO. 1:

21           Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

22   been or will be superseded by a First Amended Complaint, rendering this interrogatory

23   irrelevant. Without waiving said objection, and subject thereto, BMC is an online entity that

24   originates and services residential home mortgages. In September 2021, plaintiff sought to

25   refinance his residence through BMC. On September 23, 2021, Plaintiff successfully closed his

26   refinancing loan with BMC. On October 17, 2021, Plaintiff received an email from BMC
27   providing information regarding his on-line account with BMC’s loan servicer, TMS. In this

28   email, Plaintiff was advised to visit the TMS website to finish setting up his account. Plaintiff
                                                      2
                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW            Document 79-2         Filed 03/31/25     Page 4 of 10




 1   was further advised of “some important things to keep in mind.” These important things

 2   included the following:

 3          •       Recurring payments have been turned off just in case your loan is transferred to

 4   another servicer.

 5          •       If Better retains the servicing of your loan, automatic payments will be turned on.

 6          •       If your loan is transferred, we will send you an email to let you know.

 7          Pursuant to the October 17, 2021 email, Plaintiff completed setting up his account with

 8   TMS, as instructed, and on or about November 3, 2021, received confirmation that his account

 9   had been set up. Prior to setting up his account with TMS to provide for automatic payments,

10   Plaintiff manually made his first loan payment online. Plaintiff heard nothing further from BMC

11   or TMS after setting up the account with TMS. Plaintiff received no notice that the loan had

12   been transferred to another servicer, and reasonably assumed, based on the email he received

13   from BMC, that automatic payments had been activated. On or about January 5, 2022, Plaintiff

14   learned of derogatory information reported to at least one CRA. After contacting BMC, Plaintiff

15   learned that despite BMC’s instructing him to set up automated payments on his account,

16   BMC/TMS had not implemented the automatic payments, resulting in a missed payment.

17   Plaintiff is informed and believes that BMC either directly, or through its authorized agent, TMC,

18   published a derogatory report to the CRAs. Plaintiff communicated the dispute to BMC and

19   TMS, but Defendants failed to correct the inaccurate report. Plaintiff communicated with CRAs

20   but was advised that they would not correct the derogatory credit reporting provided by

21   Defendants.

22   INTERROGATORY NO. 2.:

23          State all facts supporting the allegation in Paragraph 19 of the Complaint that Better was

24   “notified of plaintiff’s dispute as to the derogatory credit report[.]”

25   RESPONSE TO INTERROGATORY NO. 2:

26          Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has
27   been or will be superseded by a First Amended Complaint, rendering this interrogatory

28   irrelevant. Without waiving said objection, and subject thereto, BMC is an online entity that
                                                       3
                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2        Filed 03/31/25      Page 5 of 10




 1   originates and services residential home mortgages. In September 2021, plaintiff sought to

 2   refinance his residence through BMC. On September 23, 2021, Plaintiff successfully closed his

 3   refinancing loan with BMC. On October 17, 2021, Plaintiff received an email from BMC

 4   providing information regarding his on-line account with BMC’s loan servicer, TMS. In this

 5   email, Plaintiff was advised to visit the TMS website to finish setting up his account. Plaintiff

 6   was further advised of “some important things to keep in mind.” These important things

 7   included the following:

 8          •       Recurring payments have been turned off just in case your loan is transferred to

 9   another servicer.

10          •       If Better retains the servicing of your loan, automatic payments will be turned on.

11          •       If your loan is transferred, we will send you an email to let you know.

12          Pursuant to the October 17, 2021 email, Plaintiff completed setting up his account with

13   TMS, as instructed, and on or about November 3, 2021, received confirmation that his account

14   had been set up. Prior to setting up his account with TMS to provide for automatic payments,

15   Plaintiff manually made his first loan payment online. Plaintiff heard nothing further from BMC

16   or TMS after setting up the account with TMS. Plaintiff received no notice that the loan had

17   been transferred to another servicer, and reasonably assumed, based on the email he received

18   from BMC, that automatic payments had been activated. On or about January 5, 2022, Plaintiff

19   learned of derogatory information reported to at least one CRA. After contacting BMC, Plaintiff

20   learned that despite BMC’s instructing him to set up automated payments on his account,

21   BMC/TMS had not implemented the automatic payments, resulting in a missed payment.

22   Plaintiff is informed and believes that BMC either directly, or through its authorized agent, TMC,

23   published a derogatory report to the CRAs. Plaintiff communicated the dispute to BMC and

24   TMS, but Defendants failed to correct the inaccurate report. Plaintiff communicated with CRAs

25   but was advised that they would not correct the derogatory credit reporting provided by

26   Defendants.
27   INTERROGATORY NO. 3.:

28          State all facts supporting the allegation in Paragraph 5 of the FAC that TMS is an
                                                     4
                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2        Filed 03/31/25      Page 6 of 10




 1   “authorized agent” of Better.

 2   RESPONSE TO INTERROGATORY NO. 3:

 3          Plaintiff objects to this interrogatory on the grounds that Defendants have failed and

 4   refused to produce documents in their possession, custody and control relevant to this

 5   interrogatory. Without waiving said objections, and subject thereto, BMC is an online entity that

 6   originates and services residential home mortgages. In September 2021, plaintiff sought to

 7   refinance his residence through BMC. On September 23, 2021, Plaintiff successfully closed his

 8   refinancing loan with BMC. On October 17, 2021, Plaintiff received an email from BMC

 9   providing information regarding his on-line account with BMC’s loan servicer, TMS. In this

10   email, Plaintiff was advised to visit the TMS website to finish setting up his account. Plaintiff

11   was further advised of “some important things to keep in mind.” These important things

12   included the following:

13          •       Recurring payments have been turned off just in case your loan is transferred to

14   another servicer.

15          •       If Better retains the servicing of your loan, automatic payments will be turned on.

16          •       If your loan is transferred, we will send you an email to let you know.

17          Pursuant to the October 17, 2021 email, Plaintiff completed setting up his account with

18   TMS, as instructed, and on or about November 3, 2021, received confirmation that his account

19   had been set up. Prior to setting up his account with TMS to provide for automatic payments,

20   Plaintiff manually made his first loan payment online. Plaintiff heard nothing further from BMC

21   or TMS after setting up the account with TMS. Plaintiff received no notice that the loan had

22   been transferred to another servicer, and reasonably assumed, based on the email he received

23   from BMC, that automatic payments had been activated. On or about January 5, 2022, Plaintiff

24   learned of derogatory information reported to at least one CRA. After contacting BMC, Plaintiff

25   learned that despite BMC’s instructing him to set up automated payments on his account,

26   BMC/TMS had not implemented the automatic payments, resulting in a missed payment.
27   Plaintiff is informed and believes that BMC either directly, or through its authorized agent, TMC,

28   published a derogatory report to the CRAs. Plaintiff communicated the dispute to BMC and
                                                     5
                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2         Filed 03/31/25       Page 7 of 10




 1   TMS, but Defendants failed to correct the inaccurate report. Plaintiff communicated with CRAs

 2   but was advised that they would not correct the derogatory credit reporting provided by

 3   Defendants. Agency may be created by express agreement, implied by conduct of the parties, or

 4   by ratification. While Defendants have failed to produce any documents regarding the existence

 5   and scope of the loan servicer -principal relationship between BMC and TMS, it is likely that

 6   such documents, when produced, will support an express agency relationship. Courts have

 7   determined that parties can proceed on a vicarious liability theory on an FCRA claim. BMC is

 8   Plaintiff’s lender, and TMS is BMC’s loan servicer.

 9   INTERROGATORY NO. 4.:

10          Identify each person or entity that reported derogatory information to any CRA regarding

11   Plaintiff’s loan with Better, as alleged in Paragraph 14 of the Complaint.

12   RESPONSE TO INTERROGATORY NO. 4:

13            Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

14   been or will be superseded by a First Amended Complaint, rendering this interrogatory

15   irrelevant. Further objection is made on the grounds that Defendants have failed and refused to

16   produce documents in their possession, custody and control relevant to this interrogatory.

17   Without waiving said objections, and subject thereto, BMC and TMS.

18   INTERROGATORY NO. 5.:

19          Identify each person or entity that Plaintiff applied for credit with to “refinance his home

20   loan at a lower interest rate[,]” as alleged in Paragraph 22 of the Complaint.

21   RESPONSE TO INTERROGATORY NO. 5:

22            Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

23   been or will be superseded by a First Amended Complaint, rendering this interrogatory

24   irrelevant. Without waiving said objection, and subject thereto, Bank of America, N.A.,

25   INTERROGATORY NO. 6.:

26          Identify each person or entity that Plaintiff sought to “purchase a second property for use
27   as an income property” from, as alleged in Paragraph 22 of the Complaint.

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                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2         Filed 03/31/25      Page 8 of 10




 1   RESPONSE TO INTERROGATORY NO. 6:

 2          Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

 3   been or will be superseded by a First Amended Complaint, rendering this interrogatory

 4   irrelevant. Without waiving said objection, and subject thereto, Nick Costanzo.

 5   INTERROGATORY NO. 7.:

 6          Identify each person or entity that Plaintiff applied for credit with to “purchase a second

 7   property for use as an income property[,]” as alleged in Paragraph 22 of the Complaint.

 8   RESPONSE TO INTERROGATORY NO. 7:

 9           Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

10   been or will be superseded by a First Amended Complaint, rendering this interrogatory

11   irrelevant. Without waiving said objection, and subject thereto, Alex Martinez, Notre Dame

12   Federal Credit Union.

13   INTERROGATORY NO. 8.:

14          Identify each medical provider that provided any service to Plaintiff in relation to the

15   “emotional and mental pain” alleged in Paragraph 22 of the Complaint.

16   RESPONSE TO INTERROGATORY NO. 8:

17          Plaintiff objects to this interrogatory on the grounds that it refers to a pleading that has

18   been or will be superseded by a First Amended Complaint, rendering this interrogatory

19   irrelevant. Without waiving said objection, and subject thereto, N/A.

20

21   Dated: July 24, 2024                          TERRA LAW LLP

22

23                                                 By:     /s/ Breck E. Milde
                                                                Breck E. Milde
24                                                         Attorneys for Plaintiff Jing Xu
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                                                      7
                  PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                    FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW           Document 79-2        Filed 03/31/25      Page 9 of 10




 1                                           VERIFICATION

 2          I, Jing Xu, am the plaintiff in the within action. I have read the foregoing PLAINTIFF

 3   JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S FIRST SET OF

 4   INTERROGATORIES and know its contents. The matters stated in it are true of my own

 5   personal knowledge, except as to those matters stated on information and belief, and as to those

 6   matters, I believe them to be true.

 7          I declare under penalty of perjury that the foregoing is true and correct and that this

 8   verification was executed on July 24, 2024 at Palo Alto, California.

 9

10                                                 ____/s/ Jing Xu_____________________________
                                                          Jing Xu
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                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
     Case 5:23-cv-05510-NW          Document 79-2         Filed 03/31/25        Page 10 of 10




 1                                     CERTIFICATE OF SERVICE

 2          The undersigned attorney hereby certifies, on July 24, 2024, a copy of the following

 3   document: Plaintiff Jing Xu’s Response to Better Mortgage Corporation’s First Set of

 4   Interrogatories was served electronically to all parties on the above-captioned matter by emailing

 5   the same to all parties at the email addresses that are indicated below.

 6   Berj K. Parseghian                                    Valerie Jean Schratz
     Lippes Mathias LLP                                    Hall Griffin LLP
 7   260 Madison Ave., 17th Floor                          185 E. First St., 10th Floor
     New York, NY 10016                                    Santa Ana, CA 92705-4052
 8   (332) 345-4500                                        (714) 918-6996
     bparseghian@lippes.com                                vschratz@hallgriffin.com
 9

10
     Dated: July 24, 2024                  By:    /s/ Breck E. Milde___________
11
                                                   Breck E. Milde
12                                                TERRA LAW LLP
                                                   333 W. Santa Clara St., Suite 010
13                                                 San Jose, CA 95113
                                                   Phone: (408) 299-1200
14                                                 Email: bmilde@terralaw.com

15                                                 Attorneys for Plaintiff Jing Xu

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                   PLAINTIFF JING XU’S RESPONSE TO BETTER MORTGAGE CORPORATION’S
                                     FIRST SET OF INTERROGATORIES
